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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ISAIAH HUMPHRIES,                                No. 4:20-CV-00064

             Plaintiff,                          (Chief Judge Brann)

       v.

THE PENNSYLVANIA STATE
UNIVERSITY; JAMES FRANKLIN;
AND DAMION BARBER,

             Defendants.

                                     ORDER

                              SEPTEMBER 24, 2021

      In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that The Pennsylvania State University (“the University”)

and James Franklin’s Motion to Dismiss Plaintiff Isaiah Humphries’ Third

Amended Complaint (Doc. 62) is GRANTED. The following claims are hereby

dismissed with prejudice:

      1.    Count I against the University for Violation of Title IX of the

            Education Amendments of 1972;

      2.    Count II against the University for negligence per se related to the

            Timothy J. Piazza Antihazing Law;

      3.    Count IV against the University for negligence;

      4.    Count V against James Franklin for negligence; and
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5.   Count VIII against the University and Franklin for negligent infliction

     of emotional distress.

                                     BY THE COURT:


                                     s/ Matthew W. Brann
                                     Matthew W. Brann
                                     Chief United States District Judge
